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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


 SJUNDE AP-FONDEN, individually and on
 behalf of all others similarly situated,      Case No. 1:18-cv-12084-VSB

                       Plaintiff,
     v.

 THE GOLDMAN SACHS GROUP, INC.,
 LLOYD C. BLANKFEIN, HARVEY M.
 SCHWARTZ, and GARY D. COHN,

                       Defendants.




  DEFENDANTS’ OBJECTION AND RESPONSE TO PLAINTIFF’S REQUEST FOR
JUDICIAL NOTICE IN SUPPORT OF ITS OPPOSITION TO DEFENDANTS’ MOTION
                            TO DISMISS
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        Plaintiff’s Request is both substantively and procedurally inappropriate. It asks this Court

to take judicial notice of “all admitted (and, thus, undisputed) facts set forth in the Information and

the DPA in deciding the Motion to Dismiss,” on the theory that those admissions are “highly

relevant” because they “substantiate[] the allegations in the Second Amended Complaint.”

Request at 2–3, ECF No. 100. This is wrong as a matter of law. To the extent the Information and

DPA overlap with Plaintiff’s allegations, they are irrelevant to Defendants’ motion to dismiss

because that motion—like any Rule 12(b)(6) motion—already assumes the allegations are true.

And it would be procedurally improper to allow Plaintiff to expand its allegations by incorporating

a new set of facts from an entirely different proceeding involving different legal issues and

standards. 1

        At this stage in the litigation, the only question before the Court is whether Plaintiff has

satisfied the high burden of pleading a securities fraud claim as a matter of law. This requires the

Court, after accepting Plaintiff’s allegations as true, to determine whether Plaintiff adequately

pleaded that Defendants intentionally misled Goldman Sachs’ shareholders about the risks of

regulatory enforcement actions and sanctions relating to 1MDB. The answer to that question is

clearly no, for the reasons stated in Defendants’ motion to dismiss. Nothing in the Information or

the DPA alters this conclusion, even if, as Plaintiff maintains, they “substantiate” certain

allegations already deemed to be true for purposes of the pending motion.


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    While a court deciding a Rule 12(b)(6) motion may take judicial notice of the filing of a deferred
prosecution agreement, that notice should not extend to the factual matters discussed therein. See, e.g.,
Vasquez v. Hong Kong & Shanghai Banking Corp. Ltd., No. 18 CIV. 1876 (PAE), 2019 WL 2327810, at
*7 (S.D.N.Y. May 30, 2019) (Engelmayer, J.) (granting plaintiffs’ request to take judicial notice of a
deferred prosecution agreement, “but solely for the fact of its filing, not for the truth of its contents”); see
also Glob. Network Commc'ns, Inc. v. City of N.Y., 458 F.3d 150, 157 (2d Cir. 2006) (“A court may take
judicial notice of a document filed in another court not for the truth of the matters asserted in the other
litigation, but rather to establish the fact of such litigation and related filings.”) (internal citation omitted);
Liberty Mut. Ins. Co. v. Rotches Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir. 1992) (district court erred
in relying on bankruptcy orders “to establish facts asserted therein”).
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       The Request highlights certain statements about bribery in Malaysia (Request at 2), and a

failure to respond adequately to the risk of such bribery (id. at 3). But Plaintiff has not made any

effort to connect those allegations with the pleading deficiencies highlighted in Defendants’

motion. For example, the Request does not mention what may be the most glaring flaw in

Plaintiff’s case—the undeniable fact that the market was well aware of the risk of significant

penalties and sanctions from 1MDB-related investigations, like the one that led to the DPA,

through the extensive media coverage and Goldman Sachs’ own public disclosures. Indeed, the

portions of the Information that Plaintiff quotes in its Request—just like the allegations in the

complaint—affirmatively confirm that the market was aware of the risk. See Request at 3 (quoting

Ex. A ¶ 72) (noting that between March 2013 and February 2016, the press was raising “red flags”

regarding “Low’s involvement in the deals and the possible payment of bribes in connection with

the deals”). If anything, this further underscores Plaintiff’s inability to plead loss causation, which

alone dooms Plaintiff’s complaint. Goldman Sachs’ admissions involving FCPA charges has

nothing to do with whether Goldman Sachs misled its own shareholders about the concomitant

risks of government sanctions.

       In short, there is no legitimate reason to grant Plaintiff’s request. There is nothing in the

Information or DPA that cures the many deficiencies in the complaint or that undermines in any

way the arguments in Defendants’ motion to dismiss. And it would be inappropriate to allow

Plaintiff to use these documents to expand its allegations. The Request should be denied as

irrelevant and procedurally improper.




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Dated: November 9, 2020               Respectfully submitted,

                                        /s/ Robert Y. Sperling
                                       Robert Y. Sperling (pro hac vice)
                                       Linda T. Coberly (pro hac vice)
                                       Seth C. Farber
                                       George E. Mastoris
                                       WINSTON & STRAWN LLP
                                       200 Park Avenue
                                       New York, New York 10166
                                       Telephone: (212) 294-6700
                                       Facsimile: (212) 294-4700
                                       rsperling@winston.com
                                       lcoberly@winston.com
                                       sfarber@winston.com
                                       gmastoris@winston.com


                                      Counsel for Defendants The Goldman Sachs
                                      Group, Inc., Lloyd C. Blankfein, Harvey M.
                                      Schwartz, and Gary D. Cohn




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